                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 JENNIFER CAMPBELL,                                )
                                                   )
                Plaintiff,                         )
                                                   )
 v.                                                )     No. 3:07-0558
                                                   )     JUDGE ECHOLS
 PROMETHEUS LABORATORIES, INC.,                    )
                                                   )
                Defendant.                         )
                                                   )

                                             ORDER

        For the reasons explained in the Memorandum entered contemporaneously herewith, the

Court rules as follows:

        (1) Defendant Prometheus Laboratories, Inc.’s Motion To Dismiss Plaintiff’s Complaint

(Docket Entry No. 22), is hereby GRANTED.

        (2) Plaintiff’s Motion For Leave To Amend Complaint (Docket Entry No. 33) is hereby

DENIED as granting leave to amend the Complaint would be futile.

        (3) This case is hereby DISMISSED WITH PREJUDICE.

        (4) Entry of this Order on the docket shall constitute entry of final Judgment in accordance

with Federal Rules of Civil Procedure 58 and 79(a).

        It is so ORDERED.



                                                       ____________________________________
                                                       ROBERT L. ECHOLS
                                                       UNITED STATES DISTRICT JUDGE




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